       Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 1 of 41




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                  WICHITA DIVISION

  STATE OF KANSAS,                                §
  STATE OF ALABAMA,                               §
  STATE OF ALASKA,                                §
  STATE OF IDAHO,                                 §
  STATE OF IOWA,                                  §
  STATE OF LOUISIANA                              §
  STATE OF MONTANA,                               §
  STATE OF NEBRASKA,                              §   Civil Action No. 6:24-cv-01057-DDC-
  STATE OF SOUTH CAROLINA,                        §   ADM
  STATE OF TEXAS,                                 §
  STATE OF UTAH,                                  §
                                                  §
          Plaintiffs,                             §
                                                  §
  v.                                              §
                                                  §
  JOSEPH R. BIDEN IN HIS OFFICIAL                 §
  CAPACITY AS PRESIDENT OF THE                    §
  UNITED STATES,                                  §
  MIGUEL CARDONA IN HIS OFFICIAL                  §
  CAPACITY AS SECRETARY OF                        §
  EDUCATION,
  UNITED STATES DEPARTMENT OF
  EDUCATION;

          Defendants.

 FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                        INTRODUCTION

        In 2022, Defendant Joseph R. Biden attempted to unilaterally cancel student loans for

millions of borrowers to the tune of $430 billion, relying on a strained interpretation of the

HEROES Act. Six states sued in federal court to block this unlawful action. They succeeded.

In the landmark case of Biden v. Nebraska, 143 S. Ct. 2355 (2023), the Supreme Court rejected

Defendant Biden’s assertion that he could utilize an inapplicable provision of the HEROES Act

as a pretext to burden the public with hundreds of billions of dollars in student debt.

                                                 1
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 2 of 41




       Now, a coalition of States sues Defendant Biden, as well as co-defendants the

Department of Education and Secretary of Education Miguel Cardona, to stop a second attempt

to avoid Congress and pass an illegal student debt forgiveness. Last time Defendants tried this

the Supreme Court said that this action was illegal. Nothing since then has changed, other than

introducing more legal errors into this Rule’s underlying analysis.

       Just ten days after the Supreme Court’s rebuke, Defendants released a Rule purporting to

abolish at least $156 billion in student debt, with a new “SAVE Plan” as its centerpiece.

Defendants proposed the SAVE plan to be step two of three in their massive student loan

forgiveness scheme. The first step was the illegal loan cancellation based on the HEROES Act,

with which Defendants tried to cancel $430 billion in loans and that the Supreme Court rejected

as unconstitutional.1 Because the SAVE Plan included the assumption that $430 billion in

student loans would be forgiven before it kicked in, Defendants expressly did not consider that

would-have-been forgiven $430 billion in their cost estimate. But the Supreme Court struck

down HEROES loan forgiveness in Biden v. Nebraska. After that, Defendants’ cost estimate

was completely incorrect. Despite the failure to adjust the cost part of the Save Plan’s

justification, Defendants rushed to push through the SAVE Plan to salvage political capital.

They failed to update the cost estimate of the SAVE Plan to reflect the fact that their baseline

numbers were off by $430 billion. Because of that, the Rule severely underestimates the SAVE

Plan’s true cost. $156 billion is a floor—the Rule itself does not analyze how much of the $430

billion it assumed was already forgiven will be affected.




1
 Defendants announced the third “phase” last month. See Student Debt Relief for the William
D. Ford Federal Direct Loan Program (Direct Loans), the Federal Family Education Loan
(FFEL) Program, the Federal Perkins Loan (Perkins) Program, and the Health Education
Assistance Loan (HEAL) Program, 89 Fed. Reg. 27,564 (Apr. 17, 2024).


                                                 2
       Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 3 of 41




        Even worse, Defendants’ Rule justifying the Save Plan left in sections prepared prior to

Biden v. Nebraska being issued. That includes statements from Defendants that they are

“confident in our authority to pursue debt relief” and that they are “awaiting the Supreme Court’s

ruling on the issue.” These absurdities highlight the arbitrary and capricious nature of issuing a

rule based on the assumed constitutionality of a different rule that the Supreme Court found to be

unlawful are just the tip of the iceberg in a plan that is not only poor policy but poorly thought

out.

        The Rule is set to take effect July 1, 2024. But not content to wait for it to take effect,

Defendants assumed the authority to engage in rolling loan forgiveness for individuals who had

under some loans for at least 10 years and have begun doing so even before the Rule’s effective

date. A major round of this “forgiveness” occurred on February 21, 2024, when the Department

of Education unilaterally erased the debt of 153,000 borrowers. Defendant Biden openly boasted

about his defiance of the Supreme Court with this move, stating in Jacksonian fashion: “the

Supreme Court blocked it. They blocked it. But that didn’t stop me.”2 This lawsuit is now

necessary to prevent Defendants from continuing to flout the law, which includes ignoring

Supreme Court decisions.

        This is not the first time Defendant Biden has taken actions that he publicly admits are

likely unlawful. This is an administration that rules by will, not by law. For example, in

extending the CDC’s eviction moratorium, Defendant Biden stated, “the bulk of constitutional




2
  Remarks by President Biden on the Saving on a Valuable Education Plan, Culver City, CA,
The White House (Feb. 21, 2024), https://www.whitehouse.gov/briefing-room/speeches-
remarks/2024/02/21/remarks-by-president-biden-on-the-saving-on-a-valuable-education-plan-
culver-city-ca/.



                                                  3
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 4 of 41




scholars say it’s not likely to pass constitutional muster.”3 But he ordered CDC to extend it

anyway, boasting that delays in judicial review would mean that he could impose his will for at

least a time.4 The constitutional scholars were correct; the Supreme Court set aside as

unconstitutional the obviously illegal program in Alabama Association of Realtors v. Department

of Health & Human Services, 141 S. Ct. 2485 (2021).

       Defendant Biden is attempting the same lawless maneuver here. Although this round of

unilateral debt nullification takes on a new name, with a different putative authority, it is every

bit as improper as his first unlawful attempt at debt forgiveness in Biden v. Nebraska. Indeed, as

the Defendants scrape ever deeper into the barrel for legal pretexts to abolish student debts, the

illegality of those artifices becomes more obvious.

       The authority that Defendants claim now lacks any substantive limits and amounts to

claiming that they can abolish all student debt at any time by rulemaking alone. For example,

under Defendants’ absurd interpretation of the Higher Education Act of 1965, they could limit

student debt repayment to 5% of borrowers’ income above $5,000,000 for five years and thereby

abolish all remaining debt. Defendants do so under the pretense that such debt forgiveness or

debt erasure is merely modifying the terms of the loan repayment. That is the power claimed—

and challenged—in this suit.

       The timing of these actions also makes plain their pretextual nature. The first round of

debt relief was rushed out in time for the 2022 elections in a transparent bread-and-circuses

attempt to boost base turnout and, in essence, buy votes with federal funds. This second round of




3
   Jeff Stein & Tyler Pager, Seung Min Kim, Tony Romm, Ban on Evictions is Back, Washington
Post (Aug. 4, 2021), https://www.washingtonpost.com/politics/2021/08/04/bidens-novel-
evictions-defense-maybe-its-illegal-its-worth-it/.
4
  Id.


                                                  4
      Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 5 of 41




debt cancellation also—by remarkable coincidence—manages to take effect shortly before the

2024 election. Had Defendants taken the complex and multipart rule back to the drawing board

after Biden v. Nebraska, they would likely not be able to promulgate and finalize a rule before

November 2024. So, they did not. Accepting the propositions that the timing of these actions is

mere coincidence and that neither is essentially a multi-hundred-billion-dollar vote-buying

scheme would require this Court “to exhibit a naiveté from which ordinary citizens are free.”

Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575 (2019) (citation omitted). Regardless of

the suspicious timing, the Court should still set aside this executive action as unlawful.

        Because this second round of debt nullification is as plainly unlawful as the first

invalidated by the Supreme Court in Nebraska v. Biden, Plaintiffs are suing to vindicate their

interests and ensure that this lawlessness does not stand.

                                  JURISDICTION AND VENUE

        1.      This Court has federal question jurisdiction over this case under 28 U.S.C. § 1331

because this case concerns whether the Department acted in compliance with the United States

Constitution and federal law, including the Higher Education Act of 1965 and the Administrative

Procedure Act (“APA”).

        2.      This Court also has jurisdiction pursuant to 5 U.S.C. §§ 701–706 (the APA) and

28 U.S.C. § 1361.

        3.      Venue is proper in this Court under 28 U.S.C. § 1391(e)(1) because: (1) Plaintiff

State of Kansas resides in this judicial district, (2) Kansas agencies harmed by the Final Rule

reside in this District, (3) no real property is involved in this action.

        4.      There is a present and actual controversy between the parties.

        5.      Plaintiffs are challenging a final agency action pursuant to 5 U.S.C. §§ 551(13),

and 704.


                                                    5
      Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 6 of 41




        6.      This Court may grant Plaintiffs the relief they request under the Administrative

Procedure Act, 5 U.S.C. §§ 705-06 and the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02.

        7.      Plaintiffs request the United States District Court for the District of Kansas,

Wichita Division, located at 401 N. Market, Wichita, Kansas 67202, for trial, if any.

                                                THE PARTIES

A. Plaintiffs

        8.      Plaintiff State of Kansas is a sovereign State of the United States of America.

        9.      Kansas sues to vindicate its sovereign, quasi-sovereign, and proprietary interests,

including protecting the reliance interests of state and local agencies.

        10.     Kansas brings this suit through its attorney general Kris W. Kobach. He is the

chief legal officer of the State of Kansas and has the authority to represent Kansas in federal

court. Kan. Stat. Ann. 75-702(a).

        11.     Plaintiff State of Alabama is a sovereign State of the United States of America.

        12.     Alabama sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests, including protecting the reliance interests of state and local agencies.

        13.     Alabama brings this suit through its attorney general Steve Marshall. He is the

chief legal officer for the State of Alabama and has the authority to represent Alabama if federal

court. Ala. Code § 36-15-1(2).

        14.     Plaintiff State of Alaska is a sovereign State of the United States of America.

        15.     Alaska sues to vindicate its sovereign, quasi-sovereign, and proprietary interests,

including its interests in protecting its citizens.




                                                      6
      Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 7 of 41




        16.     Alaska brings this suit through its attorney general, Treg Taylor. He is the chief

legal officer of the State of Alaska and has authority to institute any legal action on behalf of the

state. Alaska Statute 44.23.020.

        17.     Plaintiff State of Idaho is a sovereign State of the United States of America.

        18.     Idaho sues to vindicate its sovereign, quasi-sovereign, and proprietary interests,

including its interests in protecting its citizens. The Final Rule will harm Idaho and its citizens.

        19.     Idaho brings this suit through its attorney general, Raúl Labrador, the State’s chief

legal officer. He is authorized by Idaho law to sue on the State’s behalf under Idaho Code § 67-

1401. His address is 700 W. Jefferson St., Suite 210, P.O. Box 83720, Boise, Idaho 83720.

        20.     Plaintiff State of Iowa is a sovereign State of the United States of America.

        21.     Iowa sues to vindicate its sovereign, quasi-sovereign, and proprietary interests,

including its interests in protecting its citizens.

        22.     Iowa brings this suit through its attorney ggeneral, Brenna Bird. She is authorized

by Iowa law to sue on the State’s behalf under Iowa Code § 13.2. Her address is 1305 E. Walnut

St., Des Moines, Iowa 50309. The aattorney ggeneral believes Iowa will be harmed by the Final

Rule, and therefore joins.

        23.     Plaintiff Louisiana is a sovereign State of the United States of America.

        24.     Louisiana sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests.

        25.     Louisiana brings this suit through its attorney general, Liz Murrill. She is the

chief legal officer of the State of Louisiana and has authority to institute any civil action. LA

Constitution Art. IV, § 8.




                                                      7
      Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 8 of 41




        26.    Plaintiff Montana is a sovereign State of the United States of America. The Final

Rule will harm Montana and its citizens.

        27.    Montana sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests.

        28.    This action is brought by the State in its sovereign capacity through its attorney

general, Austin Knudsen, who is the chief legal officer of the State. Mont. Const. art VI, §

4(4). He is authorized to bring legal actions to protect the interests of the State of Montana and

its citizens. His offices are located at 215 N. Sanders St., Helena, MT 59601.

        29.    Plaintiff State of Nebraska is a sovereign State of the United States of America.

        30.    Nebraska sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests.

        31.    Mike Hilgers is the attorney general of Nebraska. General Hilgers is the chief

legal officer of the State of Nebraska and has the authority to represent Nebraska in federal court.

Neb. Rev. Stat. § 84-203.

        32.    Plaintiff South Carolina is a sovereign State of the United States of America.

        33.    South Carolina sues to vindicate its sovereign, quasi-sovereign, and proprietary

interests.

        34.    South Carolina brings this suit through its attorney general, Alan Wilson. He is

the chief legal officer of the State of South Carolina and has the authority to represent South

Carolina in federal court. State ex rel. Condon v. Hodges, 349 S.C. 232, 239–40, 562 S.E.2d

623, 627 (2002) (the South Carolina attorney general “‘may institute, conduct and maintain all

such suits and proceedings as he deems necessary for the enforcement of the laws of the State,

the preservation of order, and the protection of public rights.’” (emphasis in original)) (quoting




                                                 8
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 9 of 41




State ex rel. Daniel v. Broad River Power Co., 157 S.C. 1, 68, 153 S.E. 537, 560 (1929), aff’d

282 U.S. 187 (1930)).

       35.     Plaintiff State of Texas is a sovereign State of the United States of America.

       36.     Texas sues to vindicate its sovereign, quasi-sovereign, and proprietary interests.

       37.     Texas brings this suit through its attorney general Ken Paxton. He is the chief

legal officer of the State of Texas and has the authority to represent Texas in civil litigation.

Perry v. Del Rio, 67 S.W.3d 85, 92 (Tex. 2001).

       38.     Plaintiff State of Utah is a sovereign State of the United States of America.

       39.     Utah sues to vindicate its sovereign, quasi-sovereign, and proprietary interests.

       40.     Sean D. Reyes is the Attorney General of Utah. He is authorized by Utah law to

sue on Utah’s behalf. See, e.g., Utah Const. art. VII, § 16; Utah Code § 67-5-1(1)(b).

B. Defendants

       41.     Defendant Joseph R. Biden, Jr. is the president of the United States of America.

He is sued in his official capacity. Defendant Biden instructed the Department of Education to

take the actions challenged here.

       42.     Defendant Department of Education is an executive agency of the federal

government tasked with administering the federal student loan program.

       43.     Defendant Miguel Cardona is the United States Secretary of Education and is

responsible for the operation of the Department, including the issuance of the challenged rule.

20 U.S.C. § 3411. He is sued in his official capacity.

                                    FACTUAL ALLEGATIONS

A. The Higher Education Act of 1965 and its Amendments

       44.     Congress enacted the Higher Education Act of 1965 (the “HEA” or “Act”) “to

increase educational opportunities and ‘assist in making available the benefits of postsecondary


                                                  9
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 10 of 41




education to eligible students in institutions of higher education.’” Biden, 143 S. Ct. at 2362

(quoting 20 U.S.C. § 1070(a) (cleaned up)).

       45.     Among other things, the HEA provided for two different forms of financial

assistance: grants and loans. See 20 U.S.C. § 1070-1070h, § 1071-1087-4.

       46.     Initially, the HEA did not authorize directly loaning money to students; rather, the

federal government guaranteed private loans. However, Congress amended the HEA in 1993 to

authorize direct loans to students from the federal government and allowed the Department to

offer a variety plans for repayment of student loans.

       47.     Among the repayment plans authorized by the 1993 amendments was an income-

contingent repayment plan that based repayment amounts based on the income of the borrower,

paid over an extended period of time not to exceed twenty-five years. See 20 U.S.C.

§ 1087e(d)(1)(D).

       48.     The premise of direct government lending was that there would be no ultimate

cost to the government because the loans would accrue interest and eventually get paid back.5

The cancelation of the remaining balance (if any) at the end of the 25-year period was designed

to be a narrow and rare exception rather than the rule.6

       49.     In 1994, the Department designed (by regulation) the first income-contingent

repayment plan, which limited annual loan payments to 20% of a borrower’s income that




5
  Hearing of the Committee on Labor and Human Resources to Amend the Higher Education Act
of 1965, 103rd
Cong. (1993), 48, available at: https://files.eric.ed.gov/fulltext/ED363187.pdf.
6
  Id.



                                                10
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 11 of 41




exceeds the federal poverty line. It also established that if any amount of the loan remained after

twenty-five years of payments, that remainder would be cancelled entirely.7

       50.     In 2007, Congress authorized two major changes. First, Congress established an

income-based repayment plan (which is distinct under the HEA from income-contingent

repayment plans) that provided relief for borrowers facing a temporary financial hardship by

reducing the annual repayment cap to 15% of income above 150% of the federal poverty

guideline. See 20 U.S.C. §§ 1098e(a)(3)(B), (b)(1). It also explicitly authorized cancellation of

debt after 25 years. Id. § 1098e(b)(7). Income-based repayment plans are expressly limited to

individuals with “partial financial hardship,” id. § 1098e(d)(1)(E), which is defined by 20 U.S.C.

§ 1098e.

       51.     The 2007 amendments also established the Public Service Loan Forgiveness

(“PSLF”) program, which allowed those who enter public service to have their loans canceled

after ten years instead of twenty-five. 20 U.S.C. § 1087e(1)(B).

       52.     In 2010, the last significant statutory changes were made to loan repayment. That

year, Congress lowered the cap of annual repayment to 10% of income above 150% of the

federal poverty guideline and capped the timeline for loan cancelation at twenty years for

income-based repayment. This only applied to loans taken out after 2014. 20 U.S.C. § 1098e(e).

       53.     Congress has set very specific limits on loan forgiveness. Nevertheless, the

Department has tried to give itself the power to set its own lower thresholds. The Department

has attempted to unilaterally override some of these statutory provisions through the rulemaking

process to make them more generous. First, in 2012 the Department established the Pay as You




7
 CRS, The Federal Direct Student Loan Program 10 (1995), available at:
https://files.eric.ed.gov/fulltext/ED378875.pdf.


                                                11
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 12 of 41




Earn (PAYE) plan, which extended the 2010 amendments to loans taken out as far back as 2007.

See 77 Fed. Reg. 66,088.

       54.     In 2015, the Department established the REPAYE Plan, extending the 2010

amendments to all borrowers regardless of when they took out the loans. 80 Fed. Reg. 67,204.

       55.     Despite that, the average individual under the current REPAYE plan would

ultimately pay back more than the amount that they took out in loans (i.e., pay back the entire

amount of principal plus at least some amount of interest), 88 Fed Reg. 43,880, which arguably

broadly follows the contours of other repayment plans established by Congress.

       B.      The Proposed Rule

        56.    Not satisfied with the specified thresholds and criteria set by Congress for debt

cancellation, the Department has contrived to set its own through the challenged rule.

        57.    Defendants issued a Notice of Proposed Rulemaking on Improving IDR for the

Direct Loan Program to that effect on January 11, 2023. 88 Fed. Reg 1,895 (Jan. 11, 2023).

        58.    The NPRM allowed for only a thirty-day comment period. Id.

        59.    The Proposed Rule estimated that the net budget impact would be $137.9 billion

across all loan cohorts through 2032. Id. This number assumed as part of its baseline estimate

that the HEROES forgiveness at issue in Biden v. Nebraska would be upheld.

       C.      Commenting on the Proposed Rule

       60.     Despite the significance of the Proposed Rule, the Department denied all requests

for extensions beyond the thirty-day period it had originally established. 88 Fed. Reg 43,821.

       61.     As a result of the condensed timeline, some number of people who would have

otherwise provided comment did not do so. Similarly, other individuals and entities that




                                                12
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 13 of 41




ultimately submitted comments were unable to develop their arguments adequately due to the

truncated period.

       62.     Regardless, there were some commenters who raised legal issues that were

addressed by the Department in the Final Rule.

       63.     Multiple commenters challenged the legal authority of Defendants to implement

these regulations, to include: (1) acting in excess of statutory authority, (2) implicating the major

questions doctrine, and (3) promulgating a rule that is arbitrary and capricious. See generally 88

Fed. Reg. 43,820-905.

       64.     One commenter noted that the true cost of the program was underestimated

because Defendants presumed that the $430 billion of loan forgiveness at issue in Biden v.

Nebraska would be upheld. Id.

       65.     The Congressional Budget Office (“CBO”) was also aware of this issue. While

the CBO was not able to produce a cost estimate within the short 30-day comment period

allowed by Defendants,8 the ultimate estimate did consider the contingency that step one of

Defendants’ scheme, HEROES forgiveness, would be invalidated.9

        66.    The CBO estimate also noted that Defendants’ estimate “assum[ed] that there

would be no increase in enrollment in the proposed IDR plan among current or future borrowers

and no increase in borrowing among eligible students in the future.”10




8
  See Congressional Budget Office, Re: Costs of the Proposed Income-Driven Repayment Plan
for Student Loans, March 13, 2023, located at https://www.cbo.gov/system/files/2023-03/58983-
IDR.pdf.
9
  Id. at 10 n.5.
10
   Id. at 7–8.


                                                 13
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 14 of 41




        D.      The Final Rule

        67.     Following the comment period, the Department opted to ignore the statutory

limitations on its authority and press forward with the Final Rule.

        68.     On July 10, 2023, the Department issued a final administrative rule titled

“Improving Income Driven Repayment for the William D. Ford Federal Direct Loan Program

and the Federal Family Education Loan (“FFEL Program”)” (the “Final Rule” or “Rule”). The

Final Rule was published in the Federal Register at 88 Fed. Reg. 43,820-905. A true and correct

copy of the Final Rule is attached as Exhibit 1 in ECF #1.

        69.     The Final Rule amends 34 C.F.R. § 685. 88 Fed. Reg. at 43,900.

        70.     The Final Rule makes several significant changes to preexisting regulations: for

the “REPAYE” or “SAVE” Plan, the Final Rule (1) defines “discretionary income” to be income

above 225% of the applicable Federal poverty guideline, (2) sets the monthly payment amount at

$0 if the borrower’s income falls below that threshold, (3) caps the monthly payment amount at

5% of the borrower’s income that goes above that threshold for undergraduate loans, and

(4) cancels all loans where the original principal balance was $12,000 or less after the borrower

has made 120 monthly payments or the equivalent.

        71.     Under the guise of modifying the terms of loan repayment, the Final Rule will in

fact forgive billions of dollars in student debt.

        72.     The Final Rule emphasized that the goal of these changes was to help more

borrowers avert delinquency and default, as well as the negative consequences associated with

those events, 88 Fed. Reg. 43,280, and not to create a grant, id. at 43,832.




                                                    14
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 15 of 41




       73.     However, the data within the Final Rule demonstrates that the average

undergraduate borrower under this new “SAVE” Plan would pay only about $6,121 for every

$10,000 borrowed. Id. at 43,880.

       74.     Under the current/pre-Final Rule “REPAYE” Plan, that amount is $10,956 for

every $10,000 borrowed. Id.

       75.     In effect, the Rule transforms the REPAYE Plan into a system of massive federal

grants whereby borrowers pay only a fraction of the amount borrowed from the government.

The remainder of the loan is forgiven. Thus, while styled as “loans,” the Final Rule partially

transforms many or most loans into outright grants from the federal government—without any

appropriation from Congress for the resulting tens or hundreds of billions of dollars in additional

federal spending.

       76.     The Final Rule brushes off most of the challenges to the Department’s legal

authority by taking the position that the statute “sets an explicit upper limit, but no lower limit

for the ‘extended period’ time that a borrower must spend in repayment” and that the Secretary

has “discretion as to how much a borrower must pay, specifying only that payments must be set

based upon the borrower’s annual adjusted gross income.” Id. at 43,826–27.

       77.     The Final Rule asserts that the Secretary has the “authority to make the changes in

this rule related to the amount of income protected from payments, the amount of income above

the income protection threshold that goes toward loan payments, and the amount of time

borrowers must pay before repayment ends.” Id. at 43,827.

       78.     The only limitation the Final Rule envisions is that the Department provide a

“reasoned basis for the parameters it chose.” Id.




                                                 15
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 16 of 41




       79.       Aside from the APA’s procedural requirement of providing a rationale, the Final

Rule does not acknowledge any limiting principle on the Secretary’s authority to abolish debts.

It recognizes no substantive limit in the assigned statutory authority under the HEA whatsoever.

       80.       To put this in perspective, there is nothing in the Secretary’s interpretation of the

HEA that would prevent him from limiting debt repayment on income-driven repayment plans to

1% of income over $1,000,000 for 1 year only, with all remaining debt—typically 100%—

cancelled by the federal government.

       81.       The Final Rule brushes off comments that the proposed program was a matter of

economic significance that did not have clear Congressional authorization by stating that there is

not anything “unprecedented or novel about the Department relying on section 455 of the HEA

as statutory authority for designing and administering repayment plans based on income.” 88

Fed. Reg. 43,830.

       82.       But by the Department’s own estimates, the Final Rule would abolish over one

hundred billion dollars in student debt—something that is incontestably “unprecedented [and]

novel”—save for the first debt cancellation invalidated by the Supreme Court in Biden v.

Nebraska.

       83.       There was no legitimate discussion on the part of Defendants about whether the

Final Rule was an issue of economic or political significance that required clear Congressional

authorization.

       84.       The Final Rule estimates that the cost of the program would be $156 billion11

across the span of ten years. 88 Fed. Reg. 43,820. As with the proposed rule, this presumed a




11
  Although the final rule increased the cost estimate, that increase was due to factors other than
the debt forgiveness struck down in Biden v. Nebraska.


                                                  16
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 17 of 41




baseline with $430 billion of debt already being eliminated. But that did not happen as a result

of Biden v. Nebraska. Id.

       85.     The Final Rule never updated the cost based on Biden v. Nebraska, even though it

came out ten days later than the Supreme Court decision. As a result, no one knows the true cost

of the program.

E.     The Final Rule Irreparably Harms Plaintiffs

       86.     The Final Rule irreparably harms Plaintiffs in several independent ways.

       87.     The Final Rule will cause financial harm for Plaintiff States including Kansas,

Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, South Carolina, and Utah through loss of

state tax revenue.

       88.     Student loan forgiveness under income-driven repayment plans (other than public

service loan forgiveness) is normally considered taxable income for federal purposes.

       89.     The American Rescue Plan Act of 2021 contained a provision that made all

student loan forgiveness, regardless of the program, not count toward the federal definition of

taxable income until December 31, 2025.

       90.     Kansas, Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, South Carolina,

and Utah automatically base their definition of taxable income on the federal definition of

income or adjusted gross income from the Internal Revenue Code, as amended. The States

automatically update their definitions of taxable income to reflect changes in federal law.

       91.     As a result of the Final Rule, Kansas, Alabama, Idaho, Iowa, Louisiana, Montana,

Nebraska, South Carolina, and Utah cannot count forgiveness of loans under income-driven

repayment plans as taxable income for state tax purposes until December 31, 2025.




                                                17
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 18 of 41




       92.     The Final Rule accelerates the timeline for cancelation on income-driven

repayment plans to as low as 10 years for certain loan balances.

       93.     Under the prior Final Rule, these loans would not be forgiven for twenty to

twenty-five years.

       94.     Under the pre-Final Rule plans, the Government Accountability Office (GAO)

estimates that by 2030, “about 1.5 million loans held by about 600,000 borrowers” would be

eligible for loan cancellation.12 Of those loans, roughly 1.2 million would be canceled between

2026 and 2030.13

       95.     Thus, but for the Final Rule, significant amounts of federal loan cancellation

would occur after December 31, 2025 for residents of the Kansas, Alabama, Idaho, Iowa,

Louisiana, Montana, Nebraska, South Carolina and Utah. This would result in taxable income

being recognized from the loan cancelation and thus payment of income taxes to Kansas,

Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, South Carolina, and Utah.

       96.     The challenged Final Rule, however, will reduce income tax revenue by

decreasing the amount of outstanding student loan debt. It does so because one of its effects is to

shift forward some debt forgiveness that would otherwise occur in a period in which it would be

taxable income (i.e., December 31, 2025 and on) into a period where it is not taxable (i.e., 2024-

25). As a result, the Defendants’ actions will cost Kansas, Alabama, Idaho, Iowa, Louisiana,

Montana, Nebraska, South Carolina, and Utah tax revenue.




12
   U.S. Gov’t Accountability Office, GAO-22-103720, Federal Student Aid: Education Needs to
Take Steps to Ensure Eligible Loans Receive Income-Driven Repayment Forgiveness 15 (2022),
https://tinyurl.com/bdhzca8z.
13
   See id. at 16 fig. 3.



                                                18
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 19 of 41




       97.     In fact, Defendants’ representatives publicly announced, “In Kansas, nearly 1,300

borrowers have already received $9.9 million in debt relief under the Biden-Harris

Administration’s SAVE plan.”14 Plaintiff Kansas cannot collect income taxes on any of this $9.9

million. Most of this amount would not have been forgiven prior to January 1, 2026.

       98.     Kansas, Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, South Carolina,

and Utah have no option to avoid harm from the Final Rule. Even if they were to break their

linkage to the federal definition of income and separately tax student debt cancellation for 2024

and 2025, they would incur significant administrative costs as a result. At a bare minimum,

these States would have to expend sums to amend all of their tax forms—since they could no

longer simply use federal income as the starting point. These States likely would also have to

promulgate guidance and expend sums enforcing the new requirements, which would likely to

confuse their taxpayers (who are otherwise used to having their state income taxes based on their

federal income).

       99.     More fundamentally, a Final-Rule-induced divorce from the federal definition of

income is likely to cause significant and costly administrative complexity and confusion. There

is a reason that the vast majority of States with income taxes conform to the federal definition of

income. See Tax Policy Center, Tax Policy Center Briefing Book: State and Local Tax Policies

(Jan. 2024) available at https://www.taxpolicycenter.org/briefing-book/how-do-state-individual-

income-taxes-conform-federal-income-taxes. There are enormous economies and efficiencies to

be had from such conformity. That is why so many States follow the federal definition income.




14
  Haisten Willis, Kansas Attorney General Will Sue Biden Administration Over Student Loans,
Washington Examiner, Mar. 27, 2024, https://www.washingtonexaminer.com/news/white-
house/2942016/kansas-attorney-general-will-sue-biden-administration-over-student-loans/.


                                                19
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 20 of 41




       100.    Nor does that conformity to the federal definition of income have anything to do

with taxation of student debt cancellation. Each of Kansas, Alabama, Idaho, Iowa, Louisiana,

Montana, Nebraska, South Carolina, and Utah adopted their conformation policies for reasons

other than taxation relating to student debt.

       101.    If the States are forced to break their linkage to the federal definition of income,

they will lose the efficiency and economic benefits that have long been a mainstay of state tax

policy. Such losses of efficiency and economic benefits is cognizable injury.

       102.    If the Final Rule were to coerce States into changing their income tax systems to

avoid harms from that Rule, that would also inflict sovereign injury: States have “sovereign

power . . . to create and enforce a legal code.” Alfred L. Snapp & Son v. Puerto Rico, 458 U.S.

592, 601 (1982). Coercing States to adopting different laws other than their actual preferences,

solely to avoid injuries inflicted upon them by unlawful federal regulations, thus inflicts

sovereign injuries upon the States.

       103.    In addition to loss of tax revenue, the Final Rule harms Plaintiffs’ ability to recruit

and retain talent, including legal talent in state attorney general offices. State agencies typically

cannot pay as much to recruit and retain talent as private sector employers. One of the benefits

they rely on to attract and maintain talent is the PSLF program established in the HEA.

       104.    For example, the Kansas Office of the Attorney General (“OAG”) and other

Kansas state agencies rely upon the availability of other student debt forgiveness programs to

recruit legal talent. Indeed, they currently have many employees eligible for relief under the

PSLF program for undergraduate and graduate student loans.

       105.    South Carolina schools also rely on the PSLF program to aid with recruitment and

retention of teachers. According to the South Carolina Department of Education, “[t]he issue of




                                                 20
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 21 of 41




loan forgiveness directly relates to the issue of salary, as teachers report they often do not make

enough money to afford monthly student loan payments upon graduation forcing them to pursue

careers outside of education. . . . Our ability to recruit future educators to the field of education,

specifically public education, is dependent upon financial support of pre-service candidates

interested in entering the field.” S.C. DEPARTMENT OF EDUCATION, Teacher Recruitment and

Retention Task Force Recommendations, at 11, May 2023 (https://ed.sc.gov/newsroom/teacher-

recruitment-and-retention-task-force-recommendations/).

        106.    South Carolina struggles with a growing teacher shortage. At the start of the

2022-2023 school year, there were 1,474 vacant teaching positions, a 39% increase in vacancies

over the previous year. Id. at 2. That same year, 6,134 teachers left the profession, up from

5,359 the previous year. Id. Recruiting and retaining talent is difficult enough; removing the

incentive of PSLF would strike another crushing blow to the South Carolina public education

system.

        107.    Similarly, the Alaska Attorney General’s office relies on the PSLF Program as a

tool for recruiting and retaining employees.

        108.    Put simply, the value of the PSLF Program as a recruiting and retention tool is

directly proportional to the amount of student debt that a current or potential employee holds:

i.e., the more debt that can be forgiven under the PSLF Program, the more powerful of an

inducement it is. Conversely, if the amount of student debt held by current and potential

employees decreases, the relative attractiveness of public employment for the Plaintiff States

decreases.

        109.    These premises flow from rudimentary economic principles of supply-and-

demand and incentives. The inducement of the PSLF Program is cancellation of all remaining




                                                  21
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 22 of 41




student debt. Thus: less debt equals less incentive to accept a job with the States or continue to

work for them.

       110.      By unilaterally writing off enormous amounts of debts—including student debt

that is disproportionately held by law school graduates and other prospective State employees—

the Final Rule harms the state’s ability to recruit talent, and directly makes it less lucrative for

current and prospective employees to work for the state. See, e.g., Louisiana Energy & Power

Auth. V. Fed. Energy Regul. Comm’n, 141 F.3d 364, 367 (D.C. Cir. 1998) (A party “suffer[s]

injury in fact when agencies lift regulatory restrictions on their competitors or otherwise allow

increased competition” against them.”).

       111.      Similarly, other Plaintiff States rely on the availability of loan forgiveness under

the PSLF program to recruit and retain employees. The Final Rule harms them by reducing the

attractiveness of that incentive to work for Plaintiff States.

       112.      During the early roll out phase of the Final Rule, hundreds of thousands of

borrowers who had loan balances below a certain amount after ten years had their loans

retroactively forgiven even if they never performed public service.

       113.      Once the Final Rule takes effect, additional individuals who have $12,000 or less

in loans will have them forgiven after ten years of repayment—the same amount of time required

for public service loan forgiveness.

       114.      Once the Final Rule takes effect, most individuals on an income-driven repayment

plan will have monthly payments that equal $0 per month. As a result, they would receive less

benefit from the PSLF Program, which makes working for state agencies less attractive. Many

will therefore leave their jobs with agencies of the Plaintiff States because one of the primary

financial benefits for them to remain will have been eliminated by the Final Rule.




                                                  22
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 23 of 41




        115.    Therefore, state and local government employers in Plaintiff States will be

harmed in their ability to recruit and retain talent.

        116.    Plaintiff States also have state instrumentalities or quasi instrumentalities that

(1) provide student loans to residents of the state, (2) hold loans issued under the Federal Family

Education Loan Program (“FFELP loans”), and/or (3) service student debt taken out by

residents, former residents, and out-of-state students.

        117.    These entities derive income from their loan portfolios, such as through collecting

interest owed or service fees.

        118.    That income is typically either provided directly to their respective States or spent

on items for which the State would otherwise have to expend its own funds.

        119.    The amount of income thus collected is directly proportional to the size of the

debt portfolio: i.e., decreasing the size of the portfolio will decrease the income collected by the

instrumentalities/quasi-instrumentalities.

        120.    The Final Rule is virtually certain to decrease the size of these student-debt

portfolios by inducing individuals to consolidate their FFELP loans into direct federal loans in

order to take advantage of the extraordinary (and unlawful) generosity of the Final Rule. The

Final Rule itself predicts as much and further sought to make such consolidation more attractive

by providing “more clarity” that borrowers “retain the borrower’s progress toward forgiveness

when they consolidate Direct or FFEL Program Loans into a Direct Consolidation Loan,” 88

Fed. Reg. at 43,865.

        121.    South Carolina has one such affected entity, the State Education Assistance

Authority (“SEAA”), which is a “public instrumentality of the State.” S.C. Code Ann. § 59-115-

40. “[T]he exercise by the authority of any power” conferred by the State is “deemed and held to




                                                   23
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 24 of 41




be the performance of an essential public function.” Id. SEAA, in turn, relies on the South

Carolina Student Loan Corporation (“SCSLC”) to service its FFELP loan portfolio.

       122.    Already, since 2011, SEAA’s portfolio has decreased from approximately $31.3

million to $6.4 million, which has reduced the amount of income generated for South Carolina’s

benefit from approximately $1.173 million to around $433,000. The Final Rule will further

decrease the size of SEAA’s portfolio as borrowers convert FFELP loans to take advantage of

available debt forgiveness. This, in turn, will result in additional losses of revenue to South

Carolina, thereby causing cognizable injury and irreparable harm.

       123.    Similarly, Alaska has the Alaska Student Loan Corporation (“ASLC”) that

performs a similar role. ASLC is a public corporation and enterprise instrumentality of the State

of Alaska that was created by statute. See Alaska Stat. § 14.42.100. It is run by a Board of

Directors, each of whom is appointed by the Governor of Alaska. Id. § 14.42.120.

       124.    As of March 2024, ASLC owns over $16.8 million in Federal Family Education

Loan Program (FFELP) loans. Through these loans, ASLC collects $1.9 million in interest and

other FFELP portfolio income annually.

       125.    The Final Rule will cause Alaska to lose significant revenues.

       126.    ASLC estimates that the Final Rule will result in ASLC losing approximately

$100,000 over just the next two years that it would otherwise collect as a FFELP loan holder.

       127.    Texas also has a student debt servicing public entity, the Texas Higher Education

Coordinating Board (“THECB”).

       128.    The THECB is an agency of the State of Texas and was created by statute. See

Tex. Educ. Code. § 61.021.




                                                 24
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 25 of 41




        129.    THECB is run by a nine-member governing board, each of whom are appointed

by the Governor of Texas with the advice and consent of the Senate of Texas.

        130.    As of May 1, 2024, THECB owns over $1,1295,236 in FFELP loans. Through

these loans, THECB collected $114,479 in interest in 2023.

        131.    If the Final Rule were to decrease the size of that student debt portfolio, the

amount of income that the THECB would collect would decrease.

        132.    As set forth above, the Final Rule will cause such a decrease, thereby decreasing

the income collected by the THECB, and causing harm to Texas.

                                      CLAIMS FOR RELIEF

                                        COUNT I
  Agency Action in Excess of Statutory Jurisdiction and in Violation of the Separation of
                                         Powers
                                  U.S. Const. art. I, § 1

        133.    Paragraphs 1–132 are realleged as if fully set out herein.

        134.    The APA requires courts to “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . (A) arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right; [or]

(D) without observance of procedure required by law.” 5 U.S.C. § 706(2)(A)-(D).

        135.    The Final Rule is final agency action subject to judicial review. Id. § 704.

        136.    The Final Rule is a “rule[]” under the APA. Id. § 701(b)(2).

        137.    The Department is an “agency” under the APA. Id. § 701(b)(1).

        138.    Separation-of-powers principles prohibit an agency from deciding questions of

great economic or political significance, or issues traditionally governed by state or local law,




                                                   25
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 26 of 41




absent clear authorization from Congress to do so. West Virginia v. EPA, 597 U.S. 697, 724

(2022) (discussing the “major questions” doctrine).

       139.    The major questions doctrine is triggered when an agency invokes broad authority

over matters of great economic and political significance. See id. at 721-22.

       140.    The Rule triggers the doctrine because forgiving hundreds of billions of dollars in

student loans for thousands of borrowers is an issue of vast political significance. Biden, 143 S.

Ct. at 2375 (2023).

       141.    The Final Rule also invokes the major questions doctrine because the cost of the

program makes it an issue of vast economic significance. When all of the aspects of the Final

Rule are taken together, the average undergraduate borrower repays only $6,121 for every

$10,000 borrowed. 88 Fed. Reg. 43,880.

       142.    In practice, this has created a situation where 4.3 million out of 7.8 million

borrowers under the income-driven repayment plan from the Final Rule have a monthly payment

of $0 on their loans. Their loans are completely forgiven.

       143.    This results in a price tag of $156 billion according to the Final Rule. However,

this number came with a baseline assumption that $430 billion of student loan debt at issue in

Biden v. Nebraska would already be forgiven. It was not. As a result, the actual cost of the

program is much higher.

       144.    The Final Rule violates the major questions doctrine because questions regarding

the nature and scope of student loan forgiveness are issues of vast political significance subject

to earnest and profound debate across the country.




                                                 26
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 27 of 41




       145.    Departure from longstanding practice without new authorization from Congress is

strong evidence the agency is acting without Congressional authorization. See Nat’l Fed’n Indp.

Bus. v. Dep’t of Lab., 595 U.S. 109, 117 (2022) [hereinafter NFIB].

       146.    The Final Rule also departs from Defendants’ nearly thirty-year definition of

“income contingent repayment plan” by effectively turning a repayment plan into an outright

grant in the form of loan forgiveness without new authorization from Congress.

       147.    In fact, nothing in the HEA or any of its amendments gives Defendants the

authority to turn the terms of income-driven loan repayment into a grant.

       148.    Nothing in the HEA nor its amendments gives Defendants the authorization to

spend significantly more than $156 billion.

       149.    As noted in Biden, the HEA does give Defendants express authorization to

forgive loans in four other instances: (1) loans held by public servants, see 20 U.S.C. §§ 1078–

10, 1087j, 1087ee, (2) borrowers who have become “permanently and totally” disabled, id.

§ 1087(a)(1), (3) borrowers who are bankrupt, id. § 1087(b), and (4) borrowers whose schools

falsely certify them, close down, or fail to pay lenders, id. § 1087(c). 143 S. Ct. at 2363.

       150.    That Defendants chose to rely on a completely different provision, 20 U.S.C.

§§ 1087e(d) and (e)), strongly suggests Congress did not authorize this action. Congress does

not “hide elephants in mouseholes,” Witman v. American Trucking Ass’n, 531 U.S. 457, 468

(2001), or authorize by implication where it has does so expressly elsewhere.

       151.    Even if the Final Rule did not implicate the major questions doctrine, it would

still violate the separation of powers. Congress only gave the Department authority to cancel

student loans in some very limited scenarios. See Biden, 143 S. Ct. at 2362-63.




                                                 27
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 28 of 41




        152.    And while Congress is no doubt aware of the issue, it has chosen not to rewrite

the HEA by adding a new category of loan forgiveness as the Department has unilaterally done.

By doing so unilaterally, Defendants have “seiz[ed]he power of the Legislature.” Id. at 2373.

        153.    Members of Congress have introduced legislation that would accomplish this or

similar goals, see, e.g., S.3953 (2022); H.R. 3027 (2019), but Congress has chosen not to enact

such legislation.

        154.    The Department therefore has no authorization to forgive student loans in this

context, and the Department exceeded its authority when it issued the Final Rule. Because the

Final Rule violates the separation of powers, it should be set aside.

                                         COUNT II
                    Agency Action That Is In Excess of Statutory Authority
                                       5 U.S.C. § 706

        155.    Paragraphs 1–132 are realleged as if fully set forth herein.

        156.    The APA requires courts to “hold unlawful and set aside agency action, findings,

and conclusions found to be . . . (A) . . . not in accordance with law; . . . [or] (C) in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2).

        157.    The Final Rule is contrary to law and exceeds the Department’s statutory

authority.

        158.    The HEA and its amendments separate grants and loans into separate chapters.

The income-driven repayment plan is in the chapter that addresses loans and by its nature

anticipates actual repayment of the principal borrowed.

        159.    Defendants have some discretion in setting the terms of loan repayment under the

statute, and there are circumstances where someone on this program would pay less than they

would otherwise owe. However, the broad nature of Defendants’ actions in the Final Rule make

it so that the average undergraduate borrower only repays $6,121 for every $10,000 borrowed.


                                                  28
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 29 of 41




       160.    At this point, the loan becomes at least a partial grant because, rather than paying

back loans with interest, most borrowers will pay back significantly less than the principal they

borrowed.

       161.    Congress already spoke in a separate chapter of the HEA and its amendments

about what qualifies as a grant. There is no authority for the proposition that Congress intended

to turn the terms of a loan into an outright grant.

       162.    The HEA also states that the standard term of loan repayment is ten years or less.

The statute that authorizes income-driven repayment requires payment over an extended period

of time. 20 U.S.C. § 1087e(d)(1)(D). However, the Final Rule allows borrowers with loans

balances of $12,000 or less to have their loans canceled after only ten years.

       163.    This erases any meaningful difference between a standard repayment plan and an

extended repayment plan because an extended repayment plan necessarily envisions a longer

repayment period than the standard repayment plan.

       164.    Because the Final Rule conflicts with what Congress explicitly spoke on in the

HEA, it should be set aside.

       165.    Furthermore, Congress already defined the terms of repayment for someone

facing a partial financial hardship as payments capped at 10% of income above 150% of the

federal poverty line.

       166.    The Final Rule caps undergraduate payments at 5% of income above 225% of the

federal poverty line. No authority suggests that Congress intended most borrowers have a plan

more generous than those who are experiencing a partial financial hardship.

       167.    By setting the applicable income thresholds for financial hardship itself, Congress

precluded Defendants from adopting their own more-generous thresholds.




                                                  29
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 30 of 41




       168.    Congress has already given Defendants very limited ability to “waive” loans with

regard to FFEL loans. See 20 U.S.C. § 1082(a)(6). This provision shows the limits of what

Congress authorized the Secretary to do with respect to “waiving” student loans. Defendants

disclaimed reliance on this provision. 88 Fed. Reg. 43,834. By cancelling loan debt on a mass

basis through the income-driven loan repayment plan, Defendants are sidestepping those limits

and flouting their statutory authority.

       169.    Finally, Congress only provided one avenue where a borrower can receive loan

forgiveness after ten years of repayment. That is through the PSLF program. CITE.

       170.    Debates surrounding the bill that authorized public service loan forgiveness

emphasized the importance of forgiving loans through this program because of the need to gear

specific relief for those who pursue a career in public service.

       171.    This Final Rule provides forgiveness after ten years for anyone who has an

original balance of $12,000 or less. In fact, Defendants have already retroactively forgiven

hundreds of thousands of such loans regardless of the amount of interest accumulated on the

principal balance.

       172.    No authority suggests that anyone—regardless of career, income, or even

unemployment—would have the same timeline for loan forgiveness as those who dedicated a

decade of their career to public service.

       173.    The Final Rule is contrary to the HEA and its amendments. It should be set aside.

                                          COUNT III
                            Arbitrary and Capricious Agency Action
                                        5 U.S.C. § 706

       174.    Paragraphs 1–132 are realleged as if fully set forth herein.




                                                 30
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 31 of 41




       175.    The final Rule is arbitrary and capricious for a number of independent reasons. In

short, Defendants failed to consider numerous important factors, including the full cost of the

rule and important reliance interests. Despite being aware of the shortcomings, Defendants

declined to address them in the Final Rule or provided wholly inadequate explanations, brushing

off concerns. Elsewhere, the Final Rule’s explanation is internally inconsistent.

       176.    The Final Rule is arbitrary and capricious in that it fails to capture, account for, or

report the full cost. The Proposed Rule estimated it would cost $137.9 billion. This estimate

was increased to $156 billion in the Final Rule.

       177.    This is without a doubt a severe underestimation. The Final Rule states that the

baseline used to compute this number included an assumption that $430 billion in student loans

that were at issue in Biden v. Nebraska would be forgiven. That was not the case.

       178.    The reality is that no one, including Defendants calculated the true cost of the

program, but they pushed it through anyway.

       179.    The Final Rule was released 10 days after the decision in Biden v. Nebraska was

issued. Defendants knew or should have known prior to the Final Rule being released that their

estimates were way off. In fact, at least one commenter warned them about it.

       180.    Defendants themselves noted, “One commenter expressed concern with our cost

estimates, which account for the Administration’s one-time debt relief plan to forgive $20,000

for Pell Grant eligible borrowers and $10,000 for other borrowers. This issue remains before the

Supreme Court. The commenter suggests that we should produce a secondary cost estimate in

the event that the loan cancellation plan does not go into effect.” 88 Fed. Reg. 48,375.

       181.    The CBO also warned of this issue.




                                                   31
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 32 of 41




       182.    Instead of heeding that warning, Defendants cavalierly responded, “the

Department is confident in our authority to pursue debt relief and is awaiting the Supreme

Court’s ruling on the issue.” Id. This was, again, 10 days after the Court in Biden v. Nebraska

had already informed Defendants that their confidence in their authority to pursue debt relief was

misplaced.

       183.    Ultimately, Defendants made no change to their estimates despite having ample

warning that their estimates were off by a wide margin. Id.

       184.    This is a violation of Defendants’ statutory duty to “reasonably explain” the Rule,

including by responding “significant points” raised by the comments. See Carlson v. Postal

Regul. Comm’n, 938 F.3d 337, 343-344 (D.C. Cir. 2019). The Rule’s estimate was just wrong.

       185.    The Defendants cost estimate also does not anticipate the increased costs that will

come when more borrowers, both present and future, sign up for what is likely to be a very

attractive program. This despite expressly noting that future borrowers would be also to take

advantage of its terms. 88 Fed. Reg. 43,822–23.

       186.    The CBO warned of this as well.

       187.    Furthermore, the Final Rule is also arbitrary and capricious because it fails to

consider the reliance interests of the Plaintiffs and their entities. See, e.g., DHS v. Regents of the

Univ. of Calif., 140 S. Ct. 1891, 1913 (2020) (“When an agency changes course . . . it must ‘be

cognizant that longstanding policies may have engendered serious reliance interests that must be

taken into account.’” (cleaned up) (citation omitted)).

       188.    First, the Final Rule did not consider Plaintiff reliance interest on tax revenue

from loan forgiveness.




                                                  32
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 33 of 41




        189.    Normally, “forgiveness” through income-driven repayment is considered taxable

income by the Internal Revenue service.

        190.    Kansas, Alabama, Idaho, Iowa, Louisiana, Montana, Nebraska, South Carolina,

and Utah follow the federal definitions when defining taxable income tax for state purposes.

Therefore, income-driven repayment “forgiveness” is normally taxable income at the state level

for these states.

        191.    However, the American Rescue Act of 2021 barred states from collecting taxes on

any loan forgiveness until December 31, 2025.

        192.    Despite being aware of this law, Defendants still unilaterally forgave hundreds of

thousands of loans retroactively as they roll out this program. At least some of those loans

would have been forgiven after December 31, 2025, forcing Plaintiff States to lose tax revenue.

        193.    The Final Rule ignored this and forgave the loans anyway.

        194.    Second, the Rule failed to consider the Plaintiffs’ reliance interest in using PSLF

to recruit talent and remain competitive. See XY Plan. Network, LLC v. United States Sec. &

Exch. Comm’n, 963 F.3d 244, 251 (2d Cir. 2020). State and local government employers cannot

pay as much as private sector employers because they are primarily funded by taxpayer dollars

and operate on yearly, limited budgets.

        195.    One of the tools they rely on to recruit and retain talent is public service loan

forgiveness.

        196.    This Final Rule eliminates that incentive through a combination of awaiting most

borrowers regardless of loan size with $0 monthly payments and awarding anyone with a loan

balance of less than $12,000 with loan forgiveness after 10 years, regardless of career choice or

unemployment.




                                                  33
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 34 of 41




        197.    Commentators also warned of this issue, but Defendant cavalierly brushed aside

concerns despite noting “the benefits discussed in this regulation would also be available to those

seeking PSL[F].” 88 Fed. Reg. 43,880.

        198.    The Final Rule did not consider the Plaintiffs’ reliance interest in this important

program and therefore it is arbitrary and capricious.

        199.    Furthermore, the Final Rule is also arbitrary and capricious because it changes

course from nearly 30 years of Defendants’ practice on loan forgiveness. Never before have the

terms of loan repayment been transformed into loan forgiveness so that the average

undergraduate borrower repays only $6,121 for every $10,000 borrowed. These borrowers no

longer have to repay the full principal of their debts. This is a huge change of course.

        200.    Defendants have not only changed course without explanation, but also, they are

denying they are changing course at all. They state that they have taken actions similar to this in

the past through the PAYE and REPAYE programs and were never challenged on it.

        201.    Regardless of the legality of past actions (and the fact that the absence of a

challenge does not create legality), their own data demonstrate that this is not true. Prior to this

change, the average undergraduate borrower paid more than what they owed. This is arguably

consistent with other loan programs Congress established. This makes sense because they are

loans that collect interest.

        202.    This is the first time that loan repayment has reached the level at which the

average borrower pays almost 40% less than the principal he borrowed. This is a huge change of

course that Defendants refuse to acknowledge.




                                                  34
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 35 of 41




       203.      In addition, Defendants also changed course on the timing of loan cancelation.

Previously, all income-driven loan repayment plans allow cancelation after twenty to twenty-five

years. Only public service loan cancelation had a ten-year repayment timeline.

       204.      The Final Rule changes course by allowing anyone with $12,000 or less of an

original balance to receive loan forgiveness after ten years. This is a significant deviation from

past practice.

       205.      Defendants refuse to acknowledge this change of course and instead claims that

always had this authority.

       206.      Furthermore, the Final Rule is also arbitrary and capricious because it contains

numerous internal contradictions. For example, the Final Rule repeatedly states that it is

designed to avoid delinquencies and defaults. Defendants believe this is done through offering a

more generous income-driven repayment plan.

       207.      However, the Final Rule also states that the last change to the income-driven

repayment plan that lowered payments for individuals resulted in an increase is delinquencies

and defaults.

       208.      In addition, the Final Rule acknowledges that the majority of those who default on

loans had low original balances.

       209.      However, a major portion of the Final Rule provides payments as low as $0 a

month for any borrower below a certain income threshold regardless of loan balance.

       210.      Furthermore, the Final Rule is also arbitrary and capricious because it failed to

consider meaningfully the inflationary effects that the Rule will have, both specifically in the

secondary education market and more generally for the entire U.S. economy. The enormous

inflationary pressures are an “important aspect of the problem” that Defendants were obliged to




                                                  35
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 36 of 41




evaluate. Michigan v. EPA, 576 U.S. 743, 750-52 (2015) (cleaned up). They failed to do so and

thereby violated the APA.

        211.    The Final Rule insists it is not offering a grant but merely reducing defaults. This

is belied by their own data demonstrating that most, under the Final Rule, undergraduate

borrowers will pay back significantly less than what they owe, regardless of whether they are

suffering financial hardship or are at risk of default. That is clearly a grant.

        212.    This only makes sense when viewed through the lens of Defendants using these

justifications as a pretext and post hoc justification for political ends.

        213.    This Final Rule is not the product of a well-reasoned decision. It was a rushed

product to evasively do what the Supreme Court already told Defendants they cannot do.

        214.    The Final Rule came out ten days after that the Supreme Court in Biden v.

Nebraska struck down Defendants’ last ill-considered attempt at loan forgiveness. Defendant

Biden stated that “the Supreme Court blocked it. They blocked it. But that didn’t stop [him].”

In addition, Defendant Cordona stated in an interview that if this Final Rule was not challenged

in court they were not trying hard enough.

        215.    For all these reasons, the Final Rule is arbitrary and capricious.

                                          COUNT IV
                         Agency Action in Violation of APA Procedures
                                       5 U.S.C. § 706(2)(D)

        216.    The allegations in Paragraphs 1–132 are reincorporated herein.

        217.    The APA provides that courts must “hold unlawful and set aside agency action”

that is “without observance of procedure required by law.” 5 U.S.C. § 706(2)(D).

        218.    The APA requires agencies to publish notice of all “proposed rulemaking” in the

Federal Register, id. § 553(b), and to “give interested persons an opportunity to participate in the




                                                   36
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 37 of 41




rule making through submission of written data, views, or arguments,” id. § 553(c). The Rule,

therefore, only can be issued, if at all, pursuant to notice-and-comment rulemaking under the

APA. 5 U.S.C. § 553.

       219.    Here, Defendants only permitted 30 days for comments on the proposed rule.

This limited time period violated the APA.

       220.    The Rule is not an interpretive rule or a general statement of policy, nor is it a

rule of agency organization, procedure, or practice otherwise exempt from notice-and-comment

rulemaking. Rather, the Rule is a substantive rule for APA purposes. 5 U.S.C. § 551(4)–(5).

Further, it is a final rule because it represents the culmination of the agency’s consideration and

affects rights and obligations.

       221.    “[A] thirty-day period is, in the Administrative Conference’s view, ‘an inadequate

time to allow people to respond to proposals that are complex or based on scientific or technical

data.’ The Administrative Conference itself thus suggests ‘a sixty-day period as a more

reasonable minimum time for comment.’” Petry v. Block, 737 F.2d 1193, 1201 (D.C. Cir. 1984)

(cleaned up) (emphases added).

       222.    Executive Orders 12866 and 13563 both state that comment periods should

generally be at least 60 days. See 58 Fed. Reg. 51735 (Sept. 30, 1995) (“[E]ach agency should

afford the public a meaningful opportunity to comment on any proposed regulation, which in

most cases should include a comment period of not less than 60 days.” (emphasis added)); 76

Fed. Reg. 3821-22 (Jan. 21, 2011) (“To the extent feasible and permitted by law, each agency

shall afford the public a meaningful opportunity to comment through the Internet on any

proposed regulation, with a comment period that should generally be at least 60 days.”

(emphasis added)). The proposed rule asks for the public’s help in “complying with the specific




                                                 37
      Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 38 of 41




requirements” of these Executive Orders, 88 Fed. Reg. 1,895, then ignores what these orders

actually say with respect to the comment period.

       223.    For these reasons, most other agencies routinely provide at least a sixty-day

comment period for major rules.

       224.    Providing only thirty days for commenting on a major rule such as this one is an

outlier—and one for which Defendants offered no meaningful explanation.

       225.    Here the Final Rule is both complex and enormously impactful—tens or hundreds

of billions of dollars turn on each of its major components.

       226.    In these circumstances, Defendants violated the APA by providing only thirty

days for comment.

       227.    This error was prejudicial and denied the public (including Plaintiffs) an adequate

opportunity to comment adequately on the proposed rule.

                PRAYER FOR RELIEF AND DEMAND FOR JUDGMENT


       WHEREFORE, Plaintiffs respectfully request the following relief:

(1)    A declaratory judgment holding the Final Rule unlawful;

(2)    A declaratory judgment holding that Defendants lacked authority to issue the Final Rule;

(3)    A judgment vacating and setting aside the Final Rule;

(4)    A permanent injunction prohibiting Defendants and their officers, agents, servants,

       employees, attorneys, and any other persons who are in active concert or participation

       with those individuals from enforcing the Final Rule; and

(5)    An award to Plaintiffs of their reasonable fees, costs, expenses, and disbursements,

       including attorney’s fees, associated with this litigation; and

(6)    Such additional and further relief as the Court may deem just and proper.



                                                38
    Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 39 of 41




Respectfully submitted this the 16th day of May, 2024.


                                            KRIS W. KOBACH
                                            Attorney General of Kansas

                                            /s/ Abhishek S. Kambli
                                            Abhishek S. Kambli, Kan. SC No. 29788
                                              Deputy Attorney General
                                            Erin B. Gaide, Kan. SC No. 29691
                                              Assistant Attorney General
                                            OFFICE OF THE KANSAS
                                            ATTORNEY GENERAL
                                            Memorial Building, 2nd Floor
                                            120 SW 10th Avenue
                                            Topeka, Kansas 66612-1597
                                            Phone: (785) 296-7109
                                            Fax: (785) 291-3767
                                            Email: abhishek.kambli@ag.ks.gov
                                                    erin.gaide@ag.ks.gov

                                            Drew C. Ensign*
                                            Holtzman Vogel Baran Torchinsky
                                            & Josefiak PLLC
                                            2575 E. Camelback Road, #860
                                            Phoenix, Arizona 85016
                                            Phone: (602) 388-1262
                                            Fax: (540) 341-8809
                                            Email: densign@holtzmanvogel.com

                                            Counsel for the State of Kansas




                                              39
     Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 40 of 41




STEVE MARSHALL                                  BRENNA BIRD
Attorney General of Alabama                     Attorney General of Iowa

/s/ Edmund LaCour                               /s/ Eric H. Wessan
Edmund LaCour*                                  Eric H. Wessan*
  Solicitor General                               Solicitor General
OFFICE OF THE ALABAMA                           1305 E. Walnut Street
ATTORNEY GENERAL                                Des Moines, Iowa 50319
501 Washington Avenue                           (515) 823-9117
Montgomery, Alabama 36104                       (515) 281-4209 (fax)
(334) 353-2196                                  eric.wessan@ag.iowa.gov
(334) 353-8400 (fax)
edmund.lacour@alabamaag.gov                     Counsel for Plaintiff State of Iowa

Counsel for Plaintiff State of Alabama          ELIZABETH B. MURRILL
                                                Attorney General of Louisiana

TREG TAYLOR                                     /s/ J. Benjamin Aguiñaga
Attorney General of Alaska                      J. Benjamin Aguiñaga*
                                                  Solicitor General
/s/ Bill Milks                                  OFFICE OF THE LOUISIANA
Bill Milks*                                     ATTORNEY GENERAL
  Chief Assistant Attorney General              1885 North Third Street
ALASKA DEPARTMENT OF LAW                        Baton Rouge, Louisiana 70804
1031 West 4th Avenue, Suite 200                 (225) 506-3746
Anchorage, Alaska 99501-1994                    aguinagab@ag.louisiana.gov
(907) 465-4239
(515) 281-4209 (fax)                            Counsel for Plaintiff State of Louisiana
bill.milks@alaska.gov

Counsel for Plaintiff State of Alaska           AUSTIN KNUDSEN
                                                Attorney General of Montana
RAÚL LABRADOR
Attorney General of Idaho                       /s/ Christian B. Corrigan
                                                Christian B. Corrigan, Kan. SC No. 25622
/s/ Joshua Turner                                 Solicitor General
Joshua Turner*                                  MONTANA DEPARTMENT OF JUSTICE
  Chief of Constitutional Litigation and        215 North Sanders
Policy                                          P.O. Box 201401
700 W. Jefferson St., Suite 210,                Helena, Montana 59620-1401
PO Box 83720,                                   (406) 444-2026
Boise, Idaho 83720                              christian.corrigan@mt.gov
(208) 334-2400
josh.turner@ag.idaho.gov                        Counsel for Plaintiff State of Montana


Counsel for Plaintiff State of Idaho
                                           37
    Case 6:24-cv-01057-DDC-ADM Document 57 Filed 05/16/24 Page 41 of 41




MICHAEL T. HILGERS
Attorney General of Nebraska                         KEN PAXTON
                                                     Attorney General of Texas
/s/ Lincoln J. Korell                                BRENT WEBSTER
Lincoln J. Korell*                                   First Assistant
  Assistant Solicitor General                        Attorney General of Texas
OFFICE OF THE ATTORNEY GENERAL                       RALPH MOLINA
OF NEBRASKA                                          Deputy Attorney General
2115 State Capitol                                   for Legal Strategy
Lincoln, Nebraska 68509
(402) 471-2682                                       /s/ Charles K. Eldred
lincoln.korell@nebraska.gov                          Charles K. Eldred*
                                                       Chief, Legal Strategy Division
Counsel for Plaintiff State of Nebraska              PO Box 12548
                                                     Austin, Texas 78711-2548
                                                     (512) 463-2100
ALAN WILSON                                          charles.eldred@oag.texas.gov
Attorney General of South Carolina
                                                     Counsel for Plaintiff State of Texas
/s/ Joseph D. Spate
Joseph D. Spate*                                     SEAN REYES
  Assistant Deputy Solicitor General                 Attorney General of Utah
1000 Assembly Street
Columbia, South Carolina 29201                       /s/ Lance F. Sorenson
(803) 734-3371                                       Lance F. Sorenson*
josephspate@scag.gov                                   Assistant Utah Attorney General
                                                     UTAH ATTORNEY GENERAL
Counsel for Plaintiff State of South Carolina        160 East 300 South, 5th Floor
                                                     Salt Lake City, Utah 84114
                                                     (801) 366-0100
                                                     lancesorenson@agutah.gov

                                                     Counsel for Plaintiff State of Utah




                                                                                    *Pro hac vice




                                                38
